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                         EXHIBIT C
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DRAFT – FOR DISCUSSION PURPOSES
[PROPOSED] CASE MANAGEMENT AND SCHEDULING ORDER
                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



 FEDERAL TRADE COMMISSION,

                             Plaintiff,

                       v.
                                                               Case No. 1:24-cv-03109-JLR
 TAPESTRY, INC.,
                                                       [PROPOSED] CASE
                 and
                                                       MANAGEMENT AND
                                                       SCHEDULING ORDER
 CAPRI HOLDINGS LIMITED,

                             Defendants.



       Plaintiff Federal Trade Commission (“FTC” or “Commission”) and Defendants Tapestry,

Inc. and Capri Holdings Limited (collectively, Defendants”) respectively submit this Proposed

Case Management and Scheduling Order.

A.     TEMPORARY RESTRAINING ORDER. The FTC and Defendants stipulated to a

       temporary restraining order on April 22, 2024, which the Court so ordered on [X]April

       24, 2024. Under that temporary restraining order, the Defendants have agreed not to

       close their transaction until after 11:59 PM Eastern Time on the fifth business day after

       the Court rules on the Plaintiffs’ request for a preliminary injunction pursuant to Section

       13(b) of the Federal Trade Commission Act, 15 U.S.C. § 53(b), or until after the date

       set by the Court, whichever is later.

B.     DISCOVERY

       1. Initial Disclosures. The parties shall serve upon each other initial disclosures           Commented [A1]: Note to FTC: We are amendable to
                                                                                                     discussing waiving the exchange of initial disclosures.
           pursuant to Federal Rule of Civil Procedure 26(a)(1)(A)(i) by May 68, 2024. The


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        disclosures shall include the name and, if known, the address and telephone number

        of each individual likely to have discoverable information (or in the alternative, the

        relevant information for that individual’s counsel, if known)—along with the

        subjects of that information—that the disclosing party may use to support its claim or

        defenses in this action. If the parties need to supplement or correct their disclosures

        during the pendency of this action, they will do so pursuant to Federal Rule of Civil

        Procedure 26(e).

     2. Fact Discovery. The parties shall commence fact discovery upon the filing of this

        Joint Stipulated Case Management Order and complete it by July 3, 2024in

        accordance with Exhibit A.                                                                  Commented [A2]: Note to FTC: We made this universal
                                                                                                    edit to make Exhibit A the single source of dates instead
                                                                                                    of having two references that could conflict.
     3. Discovery Conference. This stipulated Order relieves the parties of their duty under

        Federal Rule of Civil Procedure 26(f) to confer about scheduling and a discovery

        plan.

     4. Third-Party Discovery. The notice requirements of Federal Rule of Civil Procedure

        45(a)(4) shall apply. No party issuing a third-party subpoena for the production of

        documents or electronically stored information shall request a return date sooner than

        seven (7) calendar days after service. Every documentary subpoena to a third party

        shall include a cover letter requesting that (1) the third party Bates-stamp each

        document with a production number and any applicable confidentiality designation

        prior to producing it and (2) the third party provide to the other parties copies of all

        productions at the same time as they are produced to the requesting party. If a third

        party fails to provide copies of productions to the other parties, the requesting party

        shall produce all materials received pursuant to the third-party subpoena, as well as

        all materials received voluntarily in lieu of a subpoena, including declarations or
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        affidavits obtained from a third party, to all other parties within three (3) business

        days of receiving those materials. Production shall occur in the format the materials

        were received, except that in the event a non-party produces documents or electronic

        information that are non-Bates-stamped, the party receiving the documents shall

        promptly Bates-stamp the documents or electronic information and produce them in

        an appropriate timeframe. Each side shall serve subpoenas for the production of

        documents upon no more than five entities or individuals, except that each side

        may serve subpoenas for the production of documents on any:

                a. Entities or individuals who appeared on either side’s preliminary

                   witness list or supplemental witness list; or sat for an investigational

                   hearing during Plaintiff’s investigation (FTC File No. 231-0133); or

                   who received an FTC Civil Investigative Demand during Plaintiff’s

                   investigation (FTC File No. 231-0133); or

                b. Entities affiliated with the entities or individuals identified in the

                   immediately preceding subsection (a).

     The parties shall serve document requests to third parties by May 17, 2024the deadlines

     in Exhibit A, or such other date agreed to in writing by the parties.

     5. Limitations on Party and Third-Party Declarations or Letters. No party may

        submit as evidence a declaration, letter, or affidavit from a party or third-party

        witness if such declaration, letter, or affidavit was executed or served less than

        four (4) business days prior to his or her agreed-to deposition date. In any event,

        no party or third-party declaration, letter, or affidavit may be submitted as

        evidence if it was executed or served fewer than fourteen (14) calendar days

        before the close of fact discovery. Declarations, letters, or affidavits produced
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        after this date shall not be admitted into evidence or used at the preliminary

        injunction hearing.

     5. 6. Document Requests and Production. No more than 25 requests for production

        shall be served on any party. The parties agree to make good faith efforts to

        produce documents on a rolling basis, prioritizing data requests. The parties shall

        serve any objections to requests for the production of documents no later than

        seventen (710) calendar days after the date of service of the document requests to

        which they assert objections. Within three (3) calendar days of service of any such

        objections, the parties shall meet and confer in a good faith attempt to resolve the

        objections. The parties shall substantially comply with requests for production no

        later than twenty (20) calendar days after the date of service. The parties also

        agree to make a good faith effort to substantially produce documents for a deponent

        seventhree (73) calendar days before the deponent’s deposition, provided the

        deposition is noticed for a date no fewer than [30] calendar days after service of

        objections to the corresponding document requests. In response to any document

        requests, the parties need not produce to each other in discovery in this case any

        documents previously produced by Defendants to the FTC in the course of the

        investigation of Tapestry, Inc.’s proposed acquisition of Capri Holdings Limited,

        FTC File No. 231-0133.

           a) Document Productions shall be sent to the attention of:

                    i.   To the FTC: [NAME]

                   ii.   To Tapestry: [NAME]

                  iii.   To Capri: [NAME]



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     7. Requests for Admission. The parties shall not serve any requests for admission,

        with the exception of those related solely to the authenticity of a document or the

        admissibility of documents, data, or other evidence.

     6. 8. Interrogatories. The parties shall serve no more than ten (10) interrogatories per

        side. Interrogatories shall seek only factual information; the parties shall not

        serve any, only 5 of which can be contention interrogatories, nor shall any party

        seek information that it could otherwise obtain through a contention

        interrogatory by using any other means of discovery, including deposition. For

        purposes of this provision, an interrogatory requesting a refresh or update of a

        specification in the Second Requests issued to the Defendants in the FTC’s

        investigation of the proposed acquisition (FTC File No. 231-0133) will count as a

        single interrogatory request in this proceeding, even if the specification contains

        subpartsserved later in the discovery period. . The parties shall serve objections

        and responses to interrogatories no later than fourteen (14)10 calendar days after the

        date of service. Within three (3) calendar days of service of any such objections, the

        parties shall meet and confer in a good faith attempt to resolve the objections. The

        parties shall serve substantive responses no later than 14 days after service of

        objections to the interrogatories.

     7. 9. Deadline to Issue Written Discovery to Parties. The parties shall serve

        documentDocument requests and interrogatories to parties bymust be served no

        later than May 17, 2024the dates as set out in Exhibit A.

     8. 10. Expert Reports. Plaintiff and Defendants shall serve expert reports, and rebuttal

        expert reports, and reply expert reports on the dates set forth in the schedule

        hereinExhibit A.
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     9. 11. Expert Materials Not Subject to Discovery. Expert disclosures, including each

        side’s expert reports, shall comply with the requirements of Federal Rule of Civil

        Procedure 26(a)(2), except as modified herein:

            a)       Neither side must preserve or disclose, including in expert deposition

                     testimony, the following documents or materials, and the Parties shall

                     not be obligated to include such information on any privilege log:

                      i.    any form of communication or work product shared between any of

                            the parties’ counsel and their expert(s) or consultants, or between

                            any of the experts themselves, unless such communications relate

                            to assumptions that the party’s counsel provided and that the

                            expert relied on in forming the opinions to be expressed;

                     ii.    any form of communication or work product shared between an

                            expert(s) and persons assisting the expert(s);

                    iii.    expert’s notes, unless the expert expressly relies upon and/or cites

                            such notes;

                    iv.     drafts of expert reports, affidavit, declaration, exhibits, analyses, or

                            other work product; or

                     v.     data formulations, data runs, data analyses, or any database-related

                            operations not relied upon by the expert in the opinions contained in

                            his or her final report, except as set forth in 11(b).

            b) The parties agree that they will disclose the following materials with all expert

                 reports:




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                    i.   a list by Bates number of all documents relied upon by the testifying

                         expert(s); and copies of any materials relied upon by the expert not

                         previously produced that are not readily available publicly;

                   ii.   for any calculations appearing in the report, all data and programs

                         underlying the calculation, including all programs and codes

                         necessary to recreate the calculation from the initial or raw data.

     12. Limitation on and Disclosure of Experts. Each side may disclose no more than

        three expert witnesses.

     10. Notwithstanding anything to the contrary, the testifying expert may be

        presented at deposition or trial with documents, testimony, or other materials

        not contained in his or her expert report(s) and questioned about whether the

        testifying expert saw or considered such documents, testimony, or other

        materials; the reasons why the testifying expert did or did not consider or rely

        on such documents, testimony, or other materials in forming his or her opinions;

        and whether such documents, testimony, or other materials cause the testifying

        expert to alter his or her opinions in any respect.

     11. 13. Exchange of Lists of Fact Witnesses to Appear at Hearing.

            a) Preliminary Fact Witness Lists: The parties shall exchange preliminary fact

                witness lists no later than 5:00 p.m. Eastern time on May 10, 2024in

                accordance with Exhibit A. Preliminary fact witness lists shall be limited to

                twentytwenty-five (2025) per side and summarize the general topics of each

                witness’s anticipated testimony. The preliminary witness list shall include the

                name of the employer of each witness and a description of the responsibilities

                of any third-party witness. Only a witness who appears on a party’s
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                 preliminary witness list may be included on that party’s final witness list,

                 unless the opposing parties have been provided a reasonable opportunity to

                 take the witness’s deposition.

            b) a) Final Fact Witness Lists: Final fact witness lists shall be exchanged on or

                 before 5:00 p.m. Eastern time on August 5, 2024in accordance with

                 Exhibit A. The final fact witness list shall identify all fact witnesses the

                 producing party expects that it may present at the evidentiary hearing. Final

                 fact witness lists shall be limited to fifteentwenty (1520) per side and shall

                 summarize the general topics of each witness’s anticipated testimony. Each

                 side’s final fact witness list shall be limited to witnesses who appeared on

                 either side’s preliminary fact witness list and up to fiveten (510) others,

                 provided that any witness not appearing on a preliminary fact witness must

                 otherwise have been deposed or have submitted a declaration or

                 affidavitthe opposing party was provided a reasonable opportunity to

                 take the witness’s deposition in connection with this federal court

                 preliminary injunction proceeding. Additional witnesses may be added to

                 either side’s final fact witness list after July 29, 2024the date identified in

                 Exhibit A only by agreement of the parties or with leave of the Court for

                 good cause shown.

     12. 14. Depositions.

            a)      Number of Fact Depositions. The parties agree that relief from the

                    limitation on the number of depositions set forth in Federal Rule of Civil

                    Procedure 30(a)(2) is necessary and appropriate. Each side may depose a

                    witness who (i) is listed on either side’s preliminary fact witness list or (2)
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               provides a declaration, note of support or opposition, or affidavit in

               connection with this matter. In addition, each side may take a maximum of

               fivetwenty-five (525) depositions of individuals beyond those listed on

               either side’s preliminary fact witness lists and/or who provide a

               declaration, note of support or opposition, or affidavit. A 30(b)(6)

               deposition counts as one deposition for purposes of this paragraph even if

               the noticed entity designates multiple individuals to provide testimony.

               Cross-notices of depositions will not count against the above totals. To

               the extent a deposition involves a non-party and is not cross-noticed,

               the party who did not notice the deposition will have 30 minutes

               available to them and the party seeking the deposition will have 6

               hours and 30 minutes. Additional depositions of fact witnesses shall be

               permitted only by agreement of the parties or by leave of the Court for

               good cause shown. The parties shall consult with each other prior to

               confirming any deposition to coordinate the time and place of the

               deposition. The parties shall use reasonable efforts to reduce the burden

               on witnesses noticed for depositions and to accommodate the witness’s

               schedule.

          b)   Allocation of time. All depositions, including depositions of individual

               fact and expert witnesses, shall last no more than seven hours. For the

               avoidance of doubt, a deposition pursuant to Rule 30(b)(6) mayshall last

               no more than seven hours even if more than one individual is designated

               to provide testimony. If both Plaintiffs and Defendants issue a subpoena

               to depose the same third-party fact witness, they shall allocate the time
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                  evenly between them. For purposes of this Order, former employees,

                  consultants, agents, contractors, or representatives of the parties are

                  considered party witnesses. Unused time in any side’s allocation of

                  deposition time shall not transfer to the other side.

          c)      Notice. The parties may not serve a deposition notice with fewer than

                  seven (7) calendar days’ notice. The parties shall consult with each other

                  prior to confirming any deposition to coordinate the time and place of the

                  deposition. The parties shall use reasonable efforts to reduce the burden

                  on witnesses noticed for depositions and to accommodate the witness’s

                  schedule. If a party serves a non-party subpoena for the production of

                  documents or electronically stored information and a subpoena

                  commanding attendance at a deposition, the deposition date must be at

                  least seven (7) calendar days after the original return date for the

                  document subpoena.

          d) Deposition Designations. Full transcripts of investigational hearings or

               depositions taken in the litigation shall be admitted into evidence in this

               case. The parties shall not designate portions of investigational hearings

               or depositions taken in the litigation, except to the extent that a party

               wishes to play video deposition testimony during the evidentiary hearing,

               in which case the parties shall meet and confer regarding a designation

               process. Notwithstanding the foregoing, to the extent that a party cites

               investigational hearing or deposition testimony in support of a proposed

               finding of fact, the Court may assess any objections made on the record at

               the investigational hearing or deposition in determining whether to
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                accept that proposed finding of fact. The parties agree to work in good

                faith to reach an agreement on deposition designations by the close of

                discovery.

            e) Remote Depositions. All party and non-party depositions in this matter shall

                be conducted remotely, except that expert witness depositions may be

                conducted in-person at deposing counsel’s option. The parties agree to meet

                and confer regarding remote depositions and the protocol that would govern

                any such depositions.

     13. 1. Expert Depositions. Each side may take one deposition of each of the other side’s

        testifying experts. Unless the parties agree or the Court orders otherwise, expert

        depositions must be completed on or before August 14, 2024the dates in Exhibit A.

     14. 2. Discovery Uses. All discovery taken in the above-captioned litigation can be used

        in connection with any Part 3 administrative proceeding. Only discovery obtained by

        a party in any Part 3 administrative proceeding before the close of fact discovery in

        this proceeding may be used as part of this litigation, except by agreement of the

        parties or by leave of the Court for good cause shown.

C.   MOTIONS AND BRIEFING SCHEDULE




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     1. 3. Plaintiff will file its memorandum in support of its motion for a preliminary

        injunction by July 26, 2024the date set in Exhibit A. This brief is not to exceed

        5035 pages.

     2. 4. Defendants will file their opposition to the Plaintiff’s motion for a preliminary

        injunction by August 9, 2024the date set in Exhibit A. This brief is not to exceed

        5035 pages.

     5. Plaintiff will file its reply memorandum in further support of its motion for a

        preliminary injunction by August 16, 2024. This brief is not to exceed 30 pages.

     3. 6. Any motions in limine, including any or Daubert motions, shall be filed by

        August 16, 2024the date set in Exhibit A. Any responses to any such motions shall

        be filed by August 21, 2024.the date set in Exhibit A. Any briefs in support of, or

        in opposition to, motions in limine, including any Daubert motions, shall not

        exceed 105 pages. Any briefs in support of, or in opposition to, Daubert motions

        shall not exceed 15 pages.

     4. 7. The parties’ proposed findings of fact and conclusions of law within seven (7)

        calendar days of the conclusion of the evidentiary hearing. Eachwill be filed by

        the date in Exhibit A and shall not exceed 100 pages. Each side will also have an

        opportunity to file a response to the other side’s proposed findings of fact and

        conclusions of law, collectively, consistent with the dates in Exhibit A and such

        response shall not exceed 10025 pages.

D.   PRELIMINARY INJUNCTION EVIDENTIARY HEARING

     5. 8. The parties propose an evidentiary hearing of fifteentwenty-five (1525) hours per

        side on or around August 26, 2024the date set in Exhibit A, if convenient for the

        Court. Time spent conducting a direct examination shall count against the side
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        conducting that direct examination; time spent conducting a cross-examination shall

        count against the side conducting that cross-examination. Time spent arguing an

        objection shall count against the side that loses the objection. Plaintiff and

        Defendants will each tally the time consumed by each side and confer on a daily basis

        on the total time each side has consumed. Plaintiff may reserve a portion of their

        time for rebuttal. Unused time does not transfer to the other side.

E.   OTHER MATTERS

     6. 9. Service. Service of any documents not filed via ECF, including pleadings,

        discovery requests, Rule 45 subpoenas for testimony or documents, expert disclosure,

        and delivery of all correspondence, whether under seal or otherwise, shall be by

        electronic mail to the following individuals designated by each party:

                    i.   For FTC:

                           1. [NAMES]

                   ii.   For Tapestry:

                           1. [NAMES]

                  iii.   For Capri:

                           1. [NAMES]

        In the event the volume of served materials is too large for email and requires

        electronic data transfer by file transfer protocol or a similar technology, or overnight

        delivery if agreed by the parties, the serving party will telephone or email the other

        side’s principal designee when the materials are sent to provide notice that the

        materials are being served. For purposes of calculating discovery response times

        under the Federal Rules of Civil Procedure, electronic delivery shall be treated the

        same as hand delivery.
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     7. 10. Answer. Defendants shall answer the complaint on or before May 6, 2024the

        date set in Exhibit A.

     8. 11. Nationwide Service of Process. Good cause having been shown in view of the

        geographic dispersion of potential witnesses in this action, the parties will be allowed

        nationwide service of process of discovery and evidentiary hearing subpoenas

        pursuant to Federal Rule of Civil Procedure 45 and 15 U.S.C. § 23, to issue from this

        Court that may run into any other federal district requiring witnesses to attend this

        Court. The availability of nationwide service of process, however, does not make a

        witness who is otherwise “unavailable” for purposes of Federal Rule of Civil

        Procedure 32 and Federal Rule of Evidence 804 available under these rules regarding

        the use at the evidentiary hearing of a deposition taken in this action.

     9. 12. Protective Order Concerning Confidentiality. The parties anticipate requesting

        entry of a Protective Order Concerning Confidentiality.

     10. 13. Privilege Logs. The parties agree to suspend the obligations of Federal Rule of

        Civil Procedure 26(b)(5)(A) to produce a log of materials withheld from discovery in

        this case (excluding Defendants’ productions made during the course of the FTC’s

        pre-complaint investigation) for the following categories of documents:

            a) Documents or communications sent solely between or among counsel for

                the Defendants, including any persons employed by counsel or acting on

                their behalf, and employees or agents of the Defendants;

            b) Documents or communications sent solely between or among counsel for

                Plaintiff, including any persons employed by counsel or acting on their

                behalf, and employees or agents of Plaintiff



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          c) a) Documents or communications sent solely between outside counsel for

             Defendants (or persons employed by or acting on behalf of such counsel) or

             solely between counsel for Plaintiffs (or persons employed by or acting on

             behalf of such counsel);

          d) b) Documents or communications sent solely between in-house counsel

             (acting solely in a legal capacity), or between in-house counsel (acting solely

             in a legal capacity) and outside counsel for either Defendant (or persons

             employed by or acting on behalf of such counsel);

          e) c) Documents or communications sent solely within the Plaintiffs’

             organizations (including persons employed by or acting on behalf of the

             Plaintiffs);

          f) d) Documents or communications sent between any Plaintiff and any state,

             local, or federal government agencies subject to common interest

             privilege, law enforcement investigatory privilege, joint prosecution

             privilege, the work product doctrine, or any other applicable privilege or

             protection from disclosure; and solely between or among experts retained

             for purposes of this matter (including the Federal Trade Commission’s

             investigation of this matter), and counsel for any Party or Parties,

             employees of the parties, the experts themselves, or persons acting under

             the supervision of or on behalf of those experts in connection with the

             expert’s work on this matter

          a) e) Materials exempted from disclosure under the Expert Materials provision of

             Paragraph 119 of this Order.



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        Notwithstanding the above, Defendants shall log any withheld communications

        between in-house counsel and any party employees or agents, regardless of

        whether in-house counsel was acting solely in a legal capacity. This Paragraph

        shall not alter either party’s right to challenge any privilege claims made by either

        party.

     11. 14. Inadvertent Production of Privileged Material. In accordance with Federal Rule

        of Civil Procedure 16(b)(3)(B)(iv) and Federal Rule of Evidence 502(d), inadvertent

        production of documents or communications containing privileged information or

        attorney work product shall not be a basis for loss of privilege or work product of the

        inadvertently produced material, provided that the producing party notifies the

        receiving party within three (3) business days ofa reasonable period of time of

        learning of the inadvertent production. When a party determines that it has

        inadvertently produced such material, it will notify other parties, who will promptly

        return, sequester, or delete the protected material from their document management

        systems. Within two (2) business days of identifying inadvertently produced

        information or documents(s), the party seeking claw-back of such materials shall

        provide a revised privilege log entry for the identified information or documents.

     12. 15. Attorney Work-Product. The parties will neither request nor seek to compel the

        production of any interview notes, interview memoranda, or recitation of information

        contained in such notes or memoranda, or recitation of information contained in such

        notes or memoranda, created by any party’s Counsel, except as specified in Paragraph

        119. Nothing in this Order requires the production of any party’s attorney work-

        product; confidential attorney-client communications; communications with or

        information provided to any potentially or actually retained expert; communications
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        between the FTC and other domestic or foreign regulatory agencies;

        communications between counsel for the FTC, its Commissioners, and/or persons

        employed by the FTC; or materials subject to the deliberative-process privilege or any

        other privilege.

     13. 16. Electronically Stored Information. The parties agree as follows regarding the

        preservation and production of electronically stored information (“ESI”):

            a) All Parties have established litigation holds to preserve ESI that may be

                relevant to the expected claims and defenses in this case. In addition, the

                Parties have taken steps to ensure that automatic deletion systems will not

                destroy any potentially relevant information.

            b) All Parties agree that the use of Technology Assisted Review tools may assist

                in the efficienct production of ESI. However, if a party desires to use such

                technologies that materially differ from the technologies used in

                connection with Defendants’ response to the Second Request, it shall meet

                and confer with the other side and negotiate in good faith on the reasonable

                use of such technology.

            c) All parties will request ESI in the form or forms that facilitate efficient review

                of ESI. In general, the parties shall produce ESI according to the same ESI

                technical specifications used by Defendants in the FTC’s pre-complaint

                investigation. However, the parties need not produce color images of

                documents during production because doing so results in signficiantly

                higher costs and burden on the producing parties. If a party requests

                color images of specific documents, then the receiving party shall provide

                it within a reasonable period of time.
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     14. 17. Evidentiary Presumptions.

            a) All documents produced by a Defendant either in response to document

               requests in this litigation or in the course of the FTC’s pre-complaint

               investigation of the proposed acquisition, FTC File No. 231-0133, are

               presumed to be authentic. All documents produced by non-parties from their

               files shall be presumed to be authentic within the meaning of Federal Rule of

               Evidence 901. If a party serves a specific written objection to a document’s

               authenticity, the presumption of authenticity shall no longer apply to that

               document, and the parties shall promptly meet and confer to attempt to resolve

               the objection. The Court will resolve any objections that are not resolved

               through this means or through the discovery process.

            b) Any party may challenge the authenticity or admissibility of a document for

               good cause shown, and if necessary may take discovery related solely to

               authenticity or admissibility of documents.

     15. 18. Modification of Scheduling and Case Management Order. Any party may seek

        modification of this Order for good cause, except that the parties may also modify

        discovery and expert disclosure deadlines by agreement.




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DRAFT – FOR DISCUSSION PURPOSES
[PROPOSED] CASE MANAGEMENT AND SCHEDULING ORDER
                           EXHIBIT A - PROPOSED SCHEDULE


               Event                        Plaintiff’s Date(s)              Defendant’s Date(s)

                                                                       Upon filing of this Proposed
                                    Upon filing of this Proposed Joint
                                                                       Joint Stipulated Case
Discovery Commences                 Stipulated Case Management Order
                                                                       Management Order with the
                                    with the Court
                                                                       Court

Parties Serve Initial Disclosures   May 6, 2024                       May 8, 2024

Defendants’ Answer to Plaintiffs’                                     May 6, 2024
                                    May 6, 2024
Complaint

Exchange of Preliminary Fact                                          N/A (see below split)
                                    May 10, 2024 at 5 p.m. Eastern
Witness Lists

Plaintiff Serves Preliminary                                          May 10, 2024 at 5 p.m. ET
Fact Witness Lists
                                    [see above]
Defendants Serve Preliminary
                                                                      May 15, 2024, at 5 p.m. ET
Fact Witness List

Deadline to Serve Written
Discovery, excluding Contention     May 17, 2024                      May 17, 2024
Interrogatories

Deadline to Serve Contention                                          June 14, 2024
                                    [see above]
Interrogatories

Close of Fact Discovery             July 3, 2024                      July 26, 2024

Plaintiff Serves Initial Expert                                       Aug. 5, 2024
                                    July 12, 2024
Report(s)

Defendants Serve Rebuttal Expert                                      Aug. 14, 2024
                                    July 26, 2024
Report(s)

Plaintiff’s Memorandum of Law in                                      Aug. 21, 2024
Support of Preliminary Injunction July 26, 2024
Motion

Plaintiff Serves Expert                                               None
                                    August 5, 2024
Rebuttal/Reply Report(s)

Defendants’ Opposition to                                             Aug. 30, 2024
                                    August 9, 2024
Preliminary Injunction Motion

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DRAFT – FOR DISCUSSION PURPOSES
[PROPOSED] CASE MANAGEMENT AND SCHEDULING ORDER

              Event                        Plaintiff’s Date(s)               Defendant’s Date(s)

Close of Expert Discovery          August 14, 2024                    Aug. 20, 2024

Exchange of Final Witness Lists    August 5, 2024 at 5 p.m. Eastern   Sept. 3, 2024 at 5 p.m. Eastern

Defendants’ Opposition to
                                   August 9, 2024
Preliminary Injunction Motion

Exchange of Exhibit Lists          August 9, 2024 at 5 p.m. Eastern   Sept. 3, 2024 at 5 p.m. Eastern

Exchange of Deposition                                                Sept. 3, 2024 at 5 p.m. Eastern
Designations

Close of Expert DiscoveryEach                                         Sept. 4, 2024
Party informs each non-party of
all documents produced by that
non-party that are on that
                                   August 14, 2024
Party’s exhibit list and all
depositions of that non-party
that have been designated by
any Party

Deadline for Motions In Limine                                        Sept. 4, 2024
                                   August 16, 2024
and Daubert Motions

Each side exchanges its                                               Sept. 7, 2024 at 5 pm ET
objections to the other side’s
exhibits and opening deposition
designations and provides its
deposition counter-designations

                                                                      N/A – part of Sept. 7, 2024 date
Objections to Exhibits             August 16, 2024
                                                                      above

Plaintiffs’ Reply to Defendants’                                      None
Opposition to Preliminary          August 16, 2024
Injunction Motion

Each side exchanges its                                               Sept 9, 2024 at 5 pm ET
objections to the other side’s
deposition counter-designations
and its counter-counter-
designations




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DRAFT – FOR DISCUSSION PURPOSES
[PROPOSED] CASE MANAGEMENT AND SCHEDULING ORDER

              Event                          Plaintiff’s Date(s)               Defendant’s Date(s)

Objections to ExhibitsParties                                             Sept. 10, 2024
meet and confer regarding
disputes about confidentiality of    August 16, 2024
Party documents on trial exhibit
lists

Parties meet and confer                                                   Sept. 10, 2024
regarding admissibility of
deposition designations

Parties meet and confer                                                   Sept. 10, 2024
regarding admissibility of trial
exhibits

Non-parties provide notice                                                Sept. 11, 2024
whether they object to the
potential public disclosure at
trial of any non-party
documents and depositions,
explain the basis for any such
objections, and propose
redactions where possible

Responses to Motions In Limine                                            Sept. 11, 2024
                                     August 21, 2024
and Daubert Motions due

                                                                          Sept. 12, 2024
Joint submission regarding
disputes about admissibility of
trial exhibits and deposition
designations

Joint submission regarding                                                Sept. 12, 2024
disputes about confidentiality of
Party and non-party documents
on trial exhibit lists to be filed

Final Prehearing conference                                               Sept. 13, 2024

                                                                          September 16, 2024, or at the
                                     August 26, 2024, or at the Court’s
Evidentiary Hearing Begins                                                Court’s earliest convenience
                                     earliest convenience thereafter
                                                                          thereafter
Proposed Findings of Fact and        7 days after the evidentiary hearing 7 days after the evidentiary
Conclusions of Law                   concludes                            hearing concludes

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DRAFT – FOR DISCUSSION PURPOSES
[PROPOSED] CASE MANAGEMENT AND SCHEDULING ORDER

              Event                         Plaintiff’s Date(s)              Defendant’s Date(s)
                                                                        7 days after submission of
 Responses to Proposed Findings
                                                                        findings of fact and conclusions
 of Fact and Conclusions of Law
                                                                        of law




      This order has been entered after consultation with the parties. Absent good cause
shown, the deadlines set by this order will not be modified or extended.


       IT IS SO ORDERED, this _____ day of ________________, 20_____.



                                              ___________________________
                                              UNITED STATES DISTRICT JUDGE




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